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                                                           UNITED STATES DISTRICT COURT
                                                                                         for the Southern District of California
                                  United States of America                                                                       )
                                                            V.                                                                   )
             H~i,,io                                                                                                             )
                          Hi@;M@ GARCIA SALAZAR (2)                                                                              )
                                    Defendant
                                                                                     PRETRIAL RELEASE ORDER
IT IS ORDERED that the defendant' s release is subject to these conditions:
                                                                                                                                             AUG 2 3 2022
                                                    Mandatory Conditions                   CLERK, u .s . DISTRICT couRT
                                                                     •     •            SOUTHJ:RN DISTRICT OF CALIFORNIA
(1)         The defendant must not v10late federal, state, or local law dunng the pe o<i'Ofrelease.                  DEPUTY
(2)         The defendant must cooperate in the collection of a DNA sample as authorized by
                                                       Standard Conditions
                                        (Each Standard Condition applies, unless stricken.)
(3)        The defendant must appear in court as ordered and surrender as directed to serve any sentence.
(4)        The defendant must not possess or attempt to possess a firearm, destructive device, or other dangerous
           weapon. The defendant must legally transfer all firearms, as directed by Pretrial Services.
(5)        The defendant must not use or possess a narcotic drug or other controlled substance without a lawful medical
           prescription. The defendant must not use or possess marijuana under any circumstances.
(6)        The defendant must report to the U.S. Pretrial Services Office (telephone (619) 557-5738) on the day of the
           initial court appearance or within 24 hours of the defendant' s release from custody, whichever is later.
           Throughout this case, the defendant must report as directed by the Pretrial Services Office and follow all
           directions of the Pretrial Services Office.
(7)        The defendant must advise the Court or the Pretrial Services Office in writing of: (1) the defendant' s current
           residence address and phone number, when first reporting to Pretrial Services; and (2) any new contact
           information, before making any change of residence or phone number.
(8)        The defendant must read this Pretrial Release Order and the "Advice of Penalties and Sanctions" form, or
           have them read to the defendant in the defendant' s native language. The defendant must acknowledge the
           defendant' s understanding of all the pretrial release conditions and the penalties and sanctions for any
           violations, by signing the "Advice of Penalties and Sanctions" form.
(9)        Restrict travel to: [8] San Diego County           Imperial C~unty          State of California             '?f.          •
                                D Orange County and Los Angeles County
                                D CDCA (L.A., Orange, Riverside, San Bernardino, S.L.O., Santa Barbara, Ventura)
                                [8] Do not enter Mexico          Other Travel Restriction: - - - - - - - - - --              •
                                1:8] Travel may be expanded within the State of California, in PTS' s discretion.
                                [8] Any travel outside the SDCA will be at defendant' s own expense.

                                               Additional Conditions
(10) D Ut) The defendant is released on personal recognizance.                      /J      ~                                            r
      !li(cb) The defendant must execute an appearance bond in the amount o f $ ~ ~ ~                       that is:
                                                                                          •
           D Unsecured. Defendant' s own si~nature.
           • Secured, as set forth below. The Court finds that an unsecured bond will not reasonably assure the
             defendant' s ~earance as required and/or will endanger the safety of another person or the co~uni~.
              Security: ~The co-signatures of_f_ financially responsible (and ~ d) adults or {]1()1A.s SoN)
                        ~ cash deposit with the Court of $ / ()00                      by defendant or surety.
                        D A trust deed to the United States on reai'property approved by a federal judge.
                                               •
                          A cash bond and/or a bail bond by an approved, solvent corporate surety. A corporate
                          bail bond must cover all conditions of release, not just appearances.
                        D Other: - - - - - - - -- -- - - - - - - - - - - - -- -- - - -
              Hearing: D Surety examination        D Nebbia hearing (bail source hearing)
(11 ) D 18 U.S.C. § 3142(d) hold until _ ____ ; ifno detainer is lodged by then, these conditions take effect.
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            ~


.(l2)       Th~efendant must:
            lfja) actively se~r continue full-time employment, or schooling, or a combination of both.
            [jf'(b)
                 reside (~y,irith a family member, surety, o r - - - - - - - - - - - - ~ - - ' or
               /          (~ at a residence approved by the Pretrial Services Office, including any contract facility .
            [I?" (c)
                .surrender any valid passport to the Pretrial Services Office and not obtain a passport or other
                 international travel document.
            •
         (d) clear all warrants/FTAs and pay all fines within 90 days of release or as directed by the PTS Office.
            •
         (e) submit to psychological/psychiatric treatment at Pretrial Services' discretion.
            •
         (f) submit to drug/alcohol testing no more than_ times per month and/or outpatient substance abuse
                 therapy and counseling, as directed by the Pretrial Services Office. Testing may include urine
                 testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                 substance screening or testing. Pretrial Services need not notify the Court of test results attributed to
                 residual elimination.
     D (g) take two drug tests. If both tests are negative (or show only residual elimination of marijuana), no
                 further testing is authorized.
            •
         (h) not use alcohol at all.
            •
         (i) not have a blood alcohol content (BAC) of .08% or more.
            •
         G) participate in and complete a program of inpatient substance abuse therapy and counseling, as
                 directed by the Pretrial Services Office.
            •
         (k) avoid all contact, directly or indirectly, with any person who is or may be a victim·or witness in the
                 investigation or prosecution, including:
            ~                                                ---------------------
                 participate in the Location Monitoring Program (except during any in-patient treatment program)
                j.Ild comply with its requirements as directed under the following component and technology:
            [l?""(i) Curfew. You are restricted to your residence ( )everyday from _ _ _ _ to _ _ _ _ , or           •
                                           (IE)
                            as directed by the pretrial services office or supervising officer.
            D (ii) Home Detention. You are restricted to your residence at all times except for Pretrial Services-
                      approved absences for: employment; education; religious services; medical, substance abuse, or
                      mental health treatment; attorney visits; court appearances; Court-ordered obligations; or other
                      activities.
            D (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except ·
                      for Court-a.eJ)IOved absences for medical necessities, court appearances, or other activities.
                ~chnology: ~PTS Discretion D GPS D Radio Frequency                     Smart Link    Voice Recognition     •             •
            ~You must pay all or part of the cost of the program based on your ability to pay as determined by
               .)he pretrial services officer.
            M Defense counsel must notify Pretrial Services upon submission of bond paperwork; defendant to be
                released from custody to Pretrial Services the following business day by 10:00 a.m. and Pretrial
                 Services or a PTS-approved third party to transport if needed.
           •
         (m) return to custody each _ _ _ _ at _ _ _ _ AM/PM after being released at _ _ _ _ AM/PM
                for employment, schooling, or the following purposes: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     CJ (n) remain in the custody of _ _ _ _ _ _ _ _ _ _ _ _ _, who will supervise the defendant and
                notify the Court immediately if the defendant violates any conditions of release.
     D (g,). not drive a vehicle without a valid U.S. driver license and current insurance.
     [l?'u,) Pretrial Services may disclose confidential information to third parties for the purposes of securing
                community resources or employrhent.
     D (q) Unless the Court has previously approved defendant's completed bond packet, defendant must self-
                 surrender to the U.S. Marshals Service by noon on _ _ _ _ _ _ _ __
     D (r) Adam Walsh Act: See attached Addendum for additional conditions.
           •
         (s) Other conditions: - - - - - - - - - - - - ---+--=: - - - - - - - - - - - - - - - -
(13)       •
         All conditions previously set will remain the same.
                               Dated: 8/23/2022
                                                                                                                         rew G. Schopler, U.S. Magistrate Judge
